                      IN THE UNITED STATES DISTRICT COURT ,
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DMSION
                                 No. 5:20-CR-464-D


UNITED STATES OF AMERICA                       )
                                               )
                  v.                           )               ORDER
                                               )
WILLIAM ROBERT JEFFERY, .                      )
                                               )
                                 Defendant.    )


       On June 24, 2022, the court held, a hearing concerning defendant's motion to suppress. See

[D.E. 45]. At the end of the hearing, the court made its findings of fact and conclusions oflaw in

open court. As explained in open court and incorporated by reference, the court DENIES as

meritless defendant's motion to suppress. See [D.E. 45].

       SO ORDERED. This 2A: day of June, 2022.




                                                      J ~SC. DEVER ill
                                                      United States District Judge




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